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                       EXHIBIT 11
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                                                                      Page 1

 1                 IN THE UNITED STATES DISTRICT COURT
 2                      NORTHEASTERN DISTRICT OF OHIO
 3                             EASTERN DIVISION
 4      IN RE NATIONAL PRESCRIPTION
 5      OPIATE LITIGATION                              MDL No. 2804
 6
 7      This document relates to:                      Case
                                                       No. 17-md-2804
 8      The County of Cuyahoga v.
        Purdue Pharma, L.P., et al.,                   Judge Dan Aaron
 9      Case No. 18-OP-45090                           Polster
10      City of Cleveland, Ohio vs.
        Purdue Pharma, L.P., et al.
11      Case No. 18-OP-45132
12      The County of Summit, Ohio, et al.,
        v. Purdue Pharma L.P., et al.,
13      Case No. 1:18-OP-45004 (N.D. Ohio)
14
15                  The videotaped deposition of DEMETRA
16      ASHLEY, called for examination pursuant to the
17      Rules of Civil Procedure for the United States
18      District Courts pertaining to the taking of
19      depositions, taken at 10 South Wacker Drive,
20      Suite 4000, Chicago, Illinois, on the 15th day of
21      March, 2019, at the hour of 9:16 a.m.
22
23
24      Reported by:       Gina M. Luordo, CSR, RPR, CRR
25      License No.:       084-004143

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   1 engagement.                                             1 shift in how the DEA worked with registrants. Can
   2 MR. SHKOLNIK: Once again, my objection is to            2 you describe what that shift was?
   3 time frame. Can you just --                             3 A. When we began as -- relatively soon after
   4 MR. NICHOLAS: I'm talking about the time                4 we reported, we were getting meeting requests from
   5 period when Ms. Ashley was at -- was in her senior      5 industry, and in those requests, industry
   6 position from roughly 2015 to 2018.                     6 individuals would say to us we have not been able
   7 MR. SHKOLNIK: I understand. There should be             7 to have these meetings and have these discussions.
   8 clarity. Objection to form just so it's clear.          8 So that's my knowledge.
   9 MR. NICHOLAS: Okay. That's fine.                        9 Q. Thank you.
  10 BY MR. NICHOLAS:                                       10        Do you know what -- during what period of
  11 Q. You said that you and Mr. Milione came in           11 time Mr. Rannazzisi held the senior position that
  12 at the same time. Who did each of you replace?         12 you and Mr. Milione replaced him for?
  13 A. Joseph Rannazzisi.                                  13 A. I don't know for certain.
  14 Q. You both came in to replace Mr. Rannazzisi          14 Q. Okay. If I said it was from 2007 to 2015,
  15 in combination?                                        15 does that sound right?
  16 A. Yes.                                                16 A. For sure he was there at that time.
  17 Q. And during your time in this role in this           17 Q. Okay. And during that time, he was a
  18 senior role when you and Mr. Milione were there,       18 deputy assistant administrator of the Office of
  19 was there a shift in how the DEA worked with its       19 Diversion Control --
  20 registrants?                                           20 A. That's correct.
  21 MR. SHKOLNIK: Objection.                               21 Q. -- in the DEA? Thank you.
  22 BY MR. NICHOLAS:                                       22        Okay. During your time at the DEA, did
  23 Q. You can go ahead.                                   23 you become familiar with the regulation relating to
  24 A. I believe so, yes.                                  24 identification and reporting of suspicious orders?
  25 MR. SHKOLNIK: Just note my objection. Is the           25 A. Yes.
                                                  Page 23                                                   Page 25
   1 witness speaking on behalf of DEA, or is this a      1    Q. And would that be -- was that -- is that
   2 personal opinion? I'm directing that to DEA          2 21 CFR Section 1301.74?
   3 counsel.                                             3    A. It's in 1301. I can't speak to which
   4 MR. NICHOLAS: Let me just -- we're not going         4 section, but it's in 1301.
   5 to have speaking objections.                         5    Q. I'm going to give you the thing so you can
   6 MR. SHKOLNIK: I'm allowed to make that               6 look at it.
   7 objection. I'm asking counsel very clearly is the    7    MR. NICHOLAS: Can we mark as Ashley 3, please,
   8 witness testifying as a policy voice for this        8 the next exhibit.
   9 agency, or is the witness giving an opinion of her   9               (Whereupon, ASHLEY Deposition
  10 own? We were given certain limitations in this      10               Exhibit No. 3 was marked for
  11 deposition as to what we would be allowed to do and 11               identification.)
  12 what the witness would be allowed to do.            12 BY MR. NICHOLAS:
  13 MS. BACCHUS: On behalf of the government, the 13 Q. So Ms. Ashley, I've handed you a copy of
  14 witness is here to testify in her factual capacity. 14 21 CFR Section 1301.74. Do you recognize it --
  15 She is not the representative of DEA. She can       15    A. Yes.
  16 testify to what her personal knowledge is and what  16    Q. -- as the regulation?
  17 she performed -- duties she performed on behalf of  17    A. Yes.
  18 DEA, but she is not here to speak as a 30(b)(6)     18    Q. And I'm going to direct you probably most
  19 witness on DEA policy, and that can go forward.     19 specifically to Section B. Is this section -- does
  20        That will be our standing objections. If     20 this section pertain to requirements directed to
  21 there are any questions asked regarding DEA itself, 21 distributors?
  22 she can testify to what she did as a fact witness.  22    A. Yes.
  23 MR. SHKOLNIK: Thank you.                            23    Q. And distributors are registrants; is that
  24 BY MR. NICHOLAS:                                    24 correct?
  25 Q. You just said that you believed you saw a        25    A. Correct.

                                                                                               7 (Pages 22 - 25)
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   1    Q. If you look at Section B of this                   1 asking me?
   2 regulation, does the regulation tell registrants,        2    Q. Yeah.
   3 specifically distributors, how to identify               3    A. It does not.
   4 suspicious orders?                                       4    Q. Okay. Now, during the time that you were
   5    A. I guess my answer would be somewhat, yes.          5 at the DEA, was this regulation ever changed?
   6    Q. Okay. Is there an element of subjectivity          6    A. No.
   7 to it?                                                   7    Q. To your knowledge, has the regulation ever
   8    A. Yes.                                               8 changed since it was promulgated in 1971?
   9    Q. Does the regulation explain how to                 9    MS. BACCHUS: Objection.
  10 identify an order of, quote, unusual size?              10 BY MR. NICHOLAS:
  11    A. How to do it? Yes.                                11    Q. If you know.
  12    Q. Does -- how does it do that?                      12    A. I don't think so.
  13    A. When it says to identify orders deviating         13    Q. I would like to ask you a few questions
  14 from -- substantially from a normal pattern, that       14 about pre-2005 if we can go all the way back then.
  15 would make it unusual. That's my opinion.               15 When you were a diversion investigator prior to
  16    Q. Does the regulation tell -- provide               16 2005, do you recall that -- do you recall
  17 guidance as to what constitutes an order of unusual     17 registrants reporting suspicious orders to the DEA
  18 size?                                                   18 field offices where you worked?
  19    A. No.                                               19    A. Yes.
  20    Q. Does the regulation provide guidance as to        20    Q. And at that time prior to 2005, do you
  21 what constitutes an order of unusual frequency?         21 recall that those were called excessive purchase
  22    A. No.                                               22 reports?
  23    Q. Does the regulation provide guidance as to        23    MR. SHKOLNIK: Objection to form.
  24 what constitutes an order that deviates                 24 BY MR. NICHOLAS:
  25 substantially from normal ordering pattern?             25    Q. Go ahead.
                                                   Page 27                                                   Page 29
   1 A. I would have to say in general, yeah, it         1    A. Yes.
   2 does.                                               2    Q. Do you recall how often those reports were
   3 Q. How does it do that?                             3 submitted?
   4 A. By saying it's deviating from the normal         4    A. No.
   5 pattern.                                            5    Q. Were they submitted on a monthly basis?
   6 Q. Okay. And does it explain what that              6    MR. SHKOLNIK: Objection.
   7 means?                                              7    THE WITNESS: I don't know. No. I mean, I
   8 A. You would need to know what was normal, so 8 don't know for sure.
   9 I think so.                                         9 BY MR. NICHOLAS:
  10 Q. And would normal vary from case to case?        10    Q. Okay. Do you remember what information
  11 A. Yes.                                            11 those reports contained?
  12 Q. And situation to situation?                     12    A. Somewhat, yes.
  13 A. Yes.                                            13    Q. Can you tell me at all if you remember
  14 Q. Does the regulation say what type of            14 what was in those reports?
  15 reports are supposed to be submitted?              15    A. For the most part, they were line items of
  16 A. The type?                                       16 transactions made by the distributors' sales and
  17 Q. Well, what they're supposed to look like,       17 the line items, computer-generated line items.
  18 what's supposed to be in them.                     18    Q. Now, did you have an understanding then as
  19 A. The regulation does not say that.               19 to whether the orders listed on those reports had
  20 Q. Does the regulation say anything about          20 been shipped?
  21 whether a registrant can ship an order that it has 21    A. For the most part, I recall that they had,
  22 reported as suspicious?                            22 yeah.
  23 A. It doesn't say if they should ship it. Is       23    Q. And back then, was that the standard
  24 that what your question was? Should they tell them 24 practice in the industry?
  25 whether or not to ship it? Is that what you're     25    MR. SHKOLNIK: Objection to form.

                                                                                                 8 (Pages 26 - 29)
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                                                 Page 86                                                      Page 88
   1 BY MR. NICHOLAS:                                       1    A. No. That was never my role.
   2 Q. Do you believe there was a need for                 2    Q. To your knowledge, is there a particular
   3 further written guidance?                              3 formula or algorithm that is required for a legally
   4 MR. SHKOLNIK: Objection.                               4 compliant system?
   5 MS. BACCHUS: Objection. Calls for opinion.             5    A. To my knowledge --
   6 THE WITNESS: Personally I thought the existent         6    MS. BACCHUS: Same objection.
   7 regulation was clear.                                  7    MR. SHKOLNIK: Objection.
   8 BY MR. NICHOLAS:                                       8 BY MR. NICHOLAS:
   9 Q. You wrote and submitted to Congress                 9    Q. Go ahead.
  10 that -- about the importance of working with          10    A. To my knowledge, there is not.
  11 registrants, and I don't want to read the whole       11    Q. To your knowledge, does a legally
  12 thing again. I'm just going to the last part to       12 compliant system need to be automated?
  13 say to provide them all the information and           13    A. No, it does not.
  14 especially the certainty that they need to be in      14    Q. Does it need to be manual, i.e., the
  15 full compliance, comma, as they want to be and as     15 opposite of automated?
  16 we expect them to be.                                 16    MS. BACCHUS: Objection. Vague.
  17        In your experience, in your personal           17    THE WITNESS: It's not specific. There's no
  18 experience, did the registrants, i.e., the            18 direction on how to do it.
  19 distributors, want to be in full compliance?          19 BY MR. NICHOLAS:
  20 A. For the most part, yes.                            20    Q. Are there particular methods of
  21 Q. Okay. Let's go back and talk for a few             21 investigation that are required in order for a
  22 minutes about the suspicious order regulation as it   22 system to be legally compliant?
  23 still currently exists, CFR 1301.74, Subsection B.    23    A. Yes.
  24 This is Ashley 3.                                     24    Q. What are they?
  25        Now, as we discussed, you're familiar with     25    A. The method would be to -- as it's outlined
                                                 Page 87                                                      Page 89
   1 this regulation, correct?                            1 in the regulation, to take a look at the order,
   2 A. Yes.                                              2 make a determination if it's deviating from what's
   3 Q. And it first came out in 1971; is that            3 usual. I mean, how you do it, it can be manual or
   4 right?                                               4 automatic, but it's just that it needs to be done.
   5 A. I believe so, yes.                                5 Q. And the criteria that determines whether
   6 Q. And this is the regulation that addresses         6 it deviates from pattern or too large or anything
   7 the responsibilities of the distributors to          7 else is criteria that is to be set by the
   8 identify and report suspicious orders; is that       8 distributors?
   9 right?                                               9 A. Correct.
  10 A. Yes.                                             10 Q. And so it's within their discretion; is
  11 Q. And it says that registrants, quote, shall       11 that correct?
  12 design and operate a system to disclose the         12 A. That's correct.
  13 registrant's suspicious orders of controlled        13 Q. And is it correct that the distributors
  14 substances, correct?                                14 must define their own parameters for a suspicious
  15 A. Yes.                                             15 order?
  16 Q. Do you -- are you able to -- from your           16 A. There's some regulation requirement that
  17 experience both in the field and in headquarters,   17 it be effective. So other than that, it's their
  18 are you able to define for the distributors or tell 18 discretion, but it just must be effective.
  19 them or have you been able to tell them what        19 Q. And whether a system is effective is in
  20 constitutes a legally compliant system?             20 itself a subjective determination; isn't that
  21 MS. BACCHUS: Objection to form.                     21 correct?
  22 MR. SHKOLNIK: Objection to form. Outside the 22 A. Yes, I would agree with that.
  23 scope.                                              23 Q. Okay. Are you aware that the United
  24 BY MR. NICHOLAS:                                    24 States Government Accountability Office, the GAO,
  25 Q. Go ahead.                                        25 issued a report in June of 2015 that stated that

                                                                                               23 (Pages 86 - 89)
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                                                    Page 246                                                    Page 248
   1    THE WITNESS: I would agree that I was prodding          1    Q. That's a yes?
   2 her.                                                       2    A. Yes.
   3 BY MR. SCHUTTE:                                            3    Q. Thank you.
   4    Q. I'm going to change subjects slightly here           4       And you understand or is it your
   5 and talk about a different aspect of the                   5 understanding that Rite Aid distributes only to
   6 implementing regulation. As I've understood your           6 Rite Aid pharmacies?
   7 testimony today, distributors, in your view, have          7    A. That's what I recall.
   8 to look at a variety of factors in making a                8    Q. Do you understand that Rite Aid does not
   9 decision whether or not to ship, and I believe you         9 distribute to internet pharmacies or pharmacies
  10 said that it can vary from situation to situation         10 that aren't affiliated with Rite Aid?
  11 what it means -- let me pull out my document here         11    MR. SHKOLNIK: Objection.
  12 what it would mean for an order to be unusual size.       12    MS. BACCHUS: Objection. If you know.
  13 I believe I've understood your testimony to be that       13    THE WITNESS: I don't know that for certain.
  14 that varies from situation to situation?                  14 BY MR. SCHUTTE:
  15    A. Yes.                                                15    Q. If it were the case that while during the
  16    Q. Similarly, whether an order deviates                16 time period that Rite Aid was distributing
  17 substantially from a normal pattern would vary from       17 controlled substances that Rite Aid only
  18 situation to situation?                                   18 distributed to its own pharmacies, is that a factor
  19    A. Yes.                                                19 that would be appropriate for Rite Aid to take into
  20    Q. And orders of unusual frequency would vary          20 account when determining whether an order was
  21 from situation to situation?                              21 suspicious or not?
  22    A. Yes.                                                22    MR. SHKOLNIK: Objection to form.
  23    Q. And all of these would be based on factors          23    THE WITNESS: It's one of the factors, sure.
  24 that were specific to that distributor and the            24 Yes.
  25 facts the distributor was looking at?                     25
                                                    Page 247                                                    Page 249
   1 A. Yes.                                                    1 BY MR. SCHUTTE:
   2 Q. Would one of the factors that the                       2    Q. And that would also be true -- if the same
   3 distributor should take into account is the                3 base of the hypothetical was true for CVS and
   4 customer that's placing the order?                         4 Walmart and Walgreens, would you also agree that
   5 A. Yes.                                                    5 the fact that these entities only shipped to their
   6 Q. And how, in your view, as a 35-year                     6 own pharmacies is a factor that should be taken
   7 employee of DEA would a distributor take into              7 into consideration when determining whether an
   8 account its customer in determining whether an             8 order is suspicious?
   9 order was suspicious?                                      9    A. Yes, I believe that's a factor.
  10 A. They -- in my experience, what the                     10    Q. And it's also a factor that can be taken
  11 distributor does is they get very specific                11 into consideration in making a determination
  12 information from their customer like their tax ID         12 whether to ship an order?
  13 number, their location, the orders that they may          13    A. Yes.
  14 want from the distributor, what they want to be           14    Q. You testified at some length this morning
  15 supplied. The location is a big factor. It tells          15 that when you came to D.C. in, I think it was,
  16 the population. So they ask very specific                 16 September of 2015. Do I have that right?
  17 questions who their customer base is.                     17    A. Yes.
  18 Q. When you say who their customer base is,               18    Q. With Mr. Milione, that there was a change
  19 do you mean the -- go ahead. What do you mean by          19 in philosophy about interactions between DEA and
  20 their customer base?                                      20 distributors. Do I have that right?
  21 A. The -- say the retail pharmacy's customer              21    A. Yes.
  22 base.                                                     22    Q. What was the reason for that change?
  23 Q. Now, you understand -- I think I've told               23    A. One of the reasons was pretty soon after
  24 you I represent Rite Aid.                                 24 we arrived, we were getting, you know, phone calls
  25 A. Uh-huh.                                                25 e-mails from the registrant community hoping to

                                                                                               63 (Pages 246 - 249)
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